            Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 1 of 16




October 30, 2020                                                                 Orrick, Herrington & Sutcliffe LLP
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Honorable Victor Marrero
United States District Court                                                     Aaron J. Gold
Southern District of New York
                                                                                 E aaron.gold@orrick.com
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New York, NY 10007-1312                                                          F +1 212 506 5151


Re:       National Coalition on Black Civic Participation v. Wohl, Case No. 20-cv-8668

Dear Judge Marrero:

       We write on behalf of Plaintiffs in the above-referenced action to request that the Court
take judicial notice of the following facts that became part of the public record during the
preliminary examination in Defendants’ criminal case in the State of Michigan. See Fed. R. Evid.
201.

        First, that on October 29, 2020, the State of Michigan 36th District Court held a preliminary
examination hearing during which: (a) the court granted the Michigan Department of Attorney
General’s request—over Defendants’ objections—for a bail modification permitting Defendants
to comply with this Court’s directive to issue a curative robocall; and (b) the Michigan court found
there to be probable cause to believe that Defendants committed the acts alleged. The Michigan
Attorney General’s request for bail modification is attached hereto as Exhibit A, and a video
recording of that hearing is available at https://www.youtube.com/watch?v=9S9Y_1c
Vb8g&ab_channel=CTRM43836thDistrictCourt, at approximately 2 hours and 19 minutes.

       Second, the exhibits introduced by the Michigan Attorney General during the preliminary
examination hearing, portions of which are attached hereto as Exhibits B–F. These exhibits
contradict various statements Defendants made both during the October 26, 2020 hearing this
Court held on Plaintiffs’ application for a temporary restraining order and in Defendants’
subsequent filings. For instance:

         Mr. Wohl stated at the hearing that their “call was not targeted to black individuals – there’s
          no way to do that, to my knowledge,” Tr. 18:19–20, but in an August 25, 2020 email,
          Mr. Wohl writes to Mr. Burkman: “Attached is the audio file for the robo call. We should
          send it to black neighborhoods in Milwaukee, Detroit, Philadelphia, Charlotte, Richmond,
          Atlanta and Cleveland.” Ex. B. Further, Mr. Burkman writes in an August 26, 2020 email
            Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 2 of 16

Hon. Victor Marrero
October 30, 2020
Page 2

          to Mr. Wohl that “[I] love these robo calls[.] [G]etting angry black call backs[.] [W]in or
          lose the black robo was a great jw idea.” Ex. C.

         Mr. Wohl also stated at the hearing that the contested robocall was “a public service
          announcement, and every claim made in the call is dispositively [sic] true.” Tr. at 18:21–
          23. Defendants’ Motion for Reconsideration states the same. See ECF No. 40 at 4 (stating
          “[t]he Project 1599 group call” was “an advisory, which . . . is neither false nor misleading
          nor inaccurate”). However, on August 19, 2020, Mr. Wohl wrote to Mr. Burkman
          declaring that “[w]e must HIJACK this boring election.” Ex. D. Also on August 19, 2020,
          Mr. Burkman, copying Mr. Wohl, wrote to Robert Mahanian of Message Communications,
          Inc. about robocall payment stating “[c]heck to you Robert just went out in the 2 day pouch
          you will have in 2–3 days then we attack.” Ex. E (emphasis added). These statements by
          Defendants belie their claim that the statements in the robocall were true and that they
          therefore sent the call as a public service announcement.


                                                                               Respectfully,

                                                                               /s/ Aaron J. Gold
                                                                               Aaron J. Gold

cc:       David Schwartz, Esq. (by ECF and email)
          Randy Kleinman, Esq. (by ECF and email)
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 3 of 16




           EXHIBIT A
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 4 of 16
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 5 of 16
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 6 of 16
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 7 of 16




           EXHIBIT B
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 8 of 16




                             014
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 9 of 16




           EXHIBIT C
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 10 of 16




                             020
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 11 of 16




           EXHIBIT D
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 12 of 16




                             011
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 13 of 16




            EXHIBIT E
           Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 14 of 16


From:             Jack Burkman
To:               robert@messagecommunications.com
Cc:               Jacob Wohl
Subject:          Re: Robert
Date:             Wednesday, August 19, 2020 9:17:08 PM




Check to you Robert just went out in the 2 day
pouch you will have in 2- 3 days

then we attack
On Wed, Aug 19, 2020 at 8:55 PM Robert Mahanian <Robert@messagecommunications.com>
wrote:

  Hey Jack,



                  Glad things are going well for you guys!   Please mail the check to the below address and
  make sure to include the account you wish to credit on the notes section of the check.   I’ll credit
  your account as soon as I get it.   Thank you,   ~Robert



            Physical Mailing Address:

            Message Communications, Inc.

            C/O Robert Mahanian

            505 N Tigertail Road, Second Floor

            Los Angeles, CA 90049-2310



  Robert Mahanian, MBA
  Message Communications, Inc.
  E-Mail:     Robert@MessageCommunications.com
  Toll-Free Phone :    (800) 848-8621 x 350
  Toll-Free Fax :         (800) 848-8892
  Web : www.MessageCommunications.com




  From: Jack Burkman [mailto:jackburkman2016@gmail.com]
  Sent: Wednesday, August 19, 2020 5:50 PM
  To: jacobwohl@gmail.com; Robert@messagecommunications.com
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 15 of 16




            EXHIBIT F
Case 1:20-cv-08668-VM Document 46 Filed 10/30/20 Page 16 of 16




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